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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

     IN RE:                                                  §
                                                             §
     REAGOR-DYKES MOTORS, LP, et al.1                        § Case No. 18-50214-rlj-11
                                                             § Jointly Administered
                          Debtors.                           §




                         STATEMENT OF FINANCIAL AFFAIRS FOR
                              REAGOR AUTO MALL I LLC
                                      (18-50325)




1
 The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-50216),
Reagor-Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218), Reagor-
Dykes Floydada, LP (Case No. 18-50219), Reagor-Dykes Snyder, L.P. (Case No. 18-50321), Reagor-Dykes III LLC
(Case No. 18-50322), Reagor Dykes II LLC (Case No. 18-50323), Reagor Auto Mall, Ltd. (Case No. 18-50324) and
Reagor-Dykes Auto Mall I LLC (Case No. 18-50325)
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         REAGOR-DYKES MOTORS, LP et al.

                                    IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE NORTHERN DISTRICT OF TEXAS
                                              LUBBOCK DIVISION

             IN RE:                                                     §
                                                                        §
                 REAGOR-DYKES MOTORS, LP, et al.1                       § Case No. 18-50214-rlj-11
                                                                        § Jointly Administered
                                               Debtor.                  §

                                   GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
                                    METHODOLOGY, AND DISCLAIMER REGARDING
                                      SCHEDULES AND STATEMENTS OF DEBTORS

                                     These Global Notes Relate only to Debtor
                                            Reagor Auto Mall I LLC

                 The Schedules of Assets and Liabilities (the “Schedules”)2 and Statement of Financial
         Affairs (the “Statements” and, collectively with the Schedules, the “Schedules and
         Statements”) filed by Reagor-Dykes Snyder, LP; Reagor-Dykes II LLC; Reagor-Dykes III
         LLC; Reagor Auto Mall, Ltd.; Reagor Auto Mall I LLC, as debtors and debtors-in-possession
         (collectively, “Reagor-Dykes” or the “ New Debtors”), in the above-captioned bankruptcy cases
         pending before the United States Bankruptcy Court for the Northern District of Texas, Lubbock

         1
          The Debtors are: Reagor-Dykes Motors, LP (Case No. 18-50214), Reagor-Dykes Imports, LP (Case No. 18-
         50215), Reagor-Dykes Amarillo (Case No. 18-50216), Reagor-Dykes Auto Company, LP (Case No. 18-50217),
         Reagor-Dykes Plainview, LP (Case No. 18-50218), Reagor-Dykes Floydada, LP (Case No. 18-50219), Reagor Auto
         Mall, Ltd. (Case No. 18-50324), Reagor Auto Mall I LLC (Case No. 18-50325), Reagor-Dykes II LLC (Case No.
         18-50323), Reagor-Dykes III LLC (Case No. 18-50322), and Reagor-Dykes Snyder (Case No. 18-50321).
             2
               The term “Schedules” includes: Schedules A/B, D, E/F, G, and H, along with the applicable summaries and all
             attachments appurtenant thereto.

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        Division (the “Bankruptcy Court”) were prepared pursuant to 11 U.S.C. § 521 and Federal
        Rule of Bankruptcy Procedure 1007 by the Debtors’ management, in coordination with the
        Debtors’ Chief Restructuring Officer at BlackBriar Advisors LLC (“BlackBriar”). The
        Schedules and Statements are unaudited. While the persons responsible for the preparation of the
        Schedules and Statements have made a reasonable effort to ensure that the Schedules and
        Statements are accurate and complete based on information known to them at the time of
        preparation after reasonable inquiries, inadvertent errors may exist and/or the subsequent receipt
        of information may result in material changes in financial and other data contained in the
        Schedules and Statements that may warrant amendment of same. Moreover, because the
        Schedules and Statements contain unaudited information that is subject to further review and
        potential adjustment, there be can no assurance that these Schedules and Statements are complete
        or accurate. These Global Notes comprise an integral part of the Schedules and Statements and
        should be referred to and considered in connection with any review of them.

                1.     Cases. On November 2, 2018 (the “Petition Date”), the New Debtors filed
        voluntary petitions for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§
        101 et seq. (the “Bankruptcy Code”). The resulting cases (the “Chapter 11 Cases”) were
        administratively consolidated into Case No. 18-50214. The New Debtors are authorized to
        continue operating their businesses and manage their property as debtors-in-possession pursuant
        to §§ 1107(a) and 1108 of the Bankruptcy Code. “Chapter 11 Case” shall mean the main
        bankruptcy case for Reagor Dykes Motors, LP Case No. 18-50214 with which the New Debtors
        are jointly administered. On December 3, 2018, the New Debtors filed an application to employ
        BlackBriar with the Court as Chief Restructuring Officer of the New Debtors.

                2.     Amendments. New Debtors reserve their right to amend the Schedules and
        Statements in all respects at any time as may be necessary or appropriate, including, without
        limitation, the right to dispute or to assert offsets or defenses to any claim reflected on the
        Schedules and Statements as to amount, to liability, or to classification, or to otherwise
        subsequently designate any claim as “disputed,” “contingent,” or “unliquidated.” Any failure to
        designate a claim as “contingent,” “unliquidated,” or “disputed” does not constitute an admission
        by New Debtors that such claim is not “contingent,” “unliquidated,” or “disputed.”

                3.     Estimates and Assumptions. The preparation of the Schedules and Statements
        requires the New Debtors to make estimates and assumptions that affect the reported amounts of
        assets and liabilities, the disclosures of contingent assets and liabilities on the date of the
        Schedules and Statements, and the reported amounts of revenues and expenses during the
        reporting period.

               4.     Unknown Amounts. Some of the scheduled assets and liabilities may be
        unknown and unliquidated at this time. In such cases, the amounts may be listed as “Unknown”
        or “Unliquidated.” Accordingly, the Schedules and the Statements may not accurately reflect the
        aggregate amount of the New Debtors’ assets and liabilities.

               5.     Prepetition v. Post-Petition. New Debtors have sought to allocate liabilities
        between the pre-petition and post-petition periods based on the information from research that
        was conducted with the preparation of these Schedules and Statements. As additional
        information becomes available and further research is conducted, the allocation of liabilities


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        between pre-petition and post-petition periods may change.

                6.      GAAP. Given the difference between the information requested in the Schedules
        and Statements, and the financial information utilized under generally accepted accounting
        principles in the United States (“GAAP”), the aggregate asset values and claim amounts set forth
        in the Schedules and Statements do not necessarily reflect the amounts that would be set forth in
        a balance sheet prepared in accordance with GAAP.

                7.     Assets. It would be prohibitively expensive, unduly burdensome, and time
        consuming to physically inspect all of the New Debtors’ property interests. Therefore, there can
        be no assurance that the New Debtors owned such property on the Petition Date. To the extent
        an asset is listed on the Schedules and described in the Statements, unless otherwise noted
        therein, such assets disclosed in the Schedules and Statements were included therein as a result
        of the New Debtors’ books and records having reflected the existence of such assets as of the
        Petition Date. The assets disclosed in the Schedules and Statements are not listed therein as a
        result of a comprehensive inspection conducted by the New Debtors.

                8.      Asset Values. It would likewise be prohibitively expensive, unduly burdensome,
        and time consuming to obtain current market valuations of the New Debtors’ property interests.
        Accordingly, to the extent any asset value is listed herein, unless otherwise noted therein, net
        book values rather than current market values of the New Debtors’ property interests are
        reflected in the applicable Schedule. As applicable, assets that have been fully depreciated or
        were expensed for accounting purposes have no net book value. And, unless otherwise
        indicated, all asset amounts are listed as of the New Debtors’ November 1, 2018 Financial
        Statements, which is ending November 1, 2018.

               9.      Causes of Action. Despite making commercially reasonable efforts to identify all
        known assets, the New Debtors may not have listed all of their causes of action or potential
        causes of action against third-parties as assets in the Schedules and Statements, including,
        without limitation, causes of action arising under the provisions of chapter 5 of the Bankruptcy
        Code and any other relevant non-bankruptcy laws to recover assets or avoid transfers.

        The New Debtors reserve all rights with respect to any cause of action (including avoidance
        actions), controversy, right of setoff, cross claim, counterclaim, equitable subordination rights, or
        recoupment and any claim on contracts or for breaches of duties imposed by law or in equity,
        demand, right, action, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment,
        account, defense, power, privilege, license, and franchise of any kind or character whatsoever,
        known, unknown, fixed or contingent, matured or unmatured, suspected or unsuspected,
        liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable directly or
        derivatively, whether arising before, on, or after the Petition Date, in contract or in tort, in law or
        in equity, or pursuant to any other theory of law (collectively “Causes of Action”) they may
        have, and neither these Global Notes nor the Schedules and Statements shall be deemed a waiver
        of any claims or Causes of Action or in any way prejudice or impair the assertion of such claims
        or Causes of Action.

               10.    Insiders. In the circumstances where the Schedules and Statements require
        information regarding insiders and/or officers and directors, included therein are New Debtors’


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        (a) managers, general partners, and/or limited partners (or persons in similar positions), (b)
        employees that are, or were during the relevant period, officers (or persons in control), (c) family
        members of managers/partners, and (d) affiliates as such term is defined in the Bankruptcy Code.
        The listing of a party as an insider is not intended to be nor should it be construed as a legal
        characterization of such party as an insider and does not act as an admission of any fact, claim,
        right, or defense, and all such rights, claims, and defenses are hereby expressly reserved.
        Further, employees that are not managers or partners have not been included in this disclosure.
        Nothing contained in the Schedules and Statements is deemed to be an admission or legal
        conclusion as the comprehensive scope of the inclusion or exclusion of persons qualifying as
        “insiders” in terms of control of the New Debtors, management responsibilities or functions,
        decision-making or corporate authority and/or as otherwise defined by applicable law, including,
        without limitation, the federal securities laws, or with respect to any theories of liability or for
        any other purpose. The New Debtors reserve all rights to amend, supplement, revise the
        Schedules and Statements with regard to any matters concerning its “insiders,” as such term is
        defined in the Bankruptcy Code and their progeny. The New Debtors reserve all rights to require
        an order from the Bankruptcy Court regarding the scope of particular persons deemed to be
        “insiders.” Item 4 of the Statements requires the New Debtors to disclose payments or transfers
        made within 1 year before filing the bankruptcy case on debts owed to an insider or guaranteed
        or co-signed by an insider unless the aggregate value of all property transferred to or for the
        benefit of the insider is less than $6,425.

                11.    Administrative Claims. The creditors and claims disclosed on the New Debtors’
        Schedule E table of claims subject to priority treatment are an estimate based on the New
        Debtors’ books and records. Out of an abundance of caution, the New Debtors have included the
        creditors and claims in Schedule E; however, the New Debtors may have been over-inclusive in
        the claims and/or amounts set forth therein. Accordingly, the information set forth in Schedule E
        is not to be deemed an admission or an allowance as to the claims disclosed therein. No claims
        will be allowed as an administrative expense priority claim without a prior order from the
        Bankruptcy Court allowing such claim.

                12.     Partners, Directors, or Officers. The New Debtors disclosed the identity of
        certain officers and/or directors in Section 28 of each Statement. The New Debtors’ inclusion of
        these persons in Section 28 of each Statement is not intended to be an admission or a legal
        conclusion as the status of such persons as “Directors,” “Officers,” “Managers,” “Partners,”
        “Insiders,” or otherwise a “person in control” of the Debtor. For the sake of clarity and out of an
        abundance of caution, the New Debtors have included such persons in response to Section 28 of
        the Statement for the purpose of candid disclosure of information in these Bankruptcy Cases.
        The New Debtors reserve all rights to amend, supplement, revise the Schedules and Statements
        with regard to any matters concerning any persons deemed to be “Directors,” “Officers,”
        “Managers,” “Partners,” “Partnerships,” “Insiders,” or otherwise a “person in control” of the
        New Debtors, as such terms may be defined in the Bankruptcy Code and their progeny. The New
        Debtors reserve all rights to require an order from the Bankruptcy Court regarding the scope of
        particular persons deemed to be “Directors,” “Officers,” “Managers,” “Partner,”, “Partnership”
        “Insiders,” or otherwise a “person in control” of the New Debtors.

               13.   Schedule F. As set forth in the New Debtors’ Schedule F table of general
        unsecured creditors, there are multiple creditors disclosed therein whose names and other


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        information have been redacted to protect the New Debtors’ confidential, proprietary and
        competitive information. The New Debtors intend to file a motion for protective order in the
        Bankruptcy Court seeking approval to disclose the redacted information under seal.

               14.    Summary of Reporting Policies and Practices. The following conventions were
        adopted by the New Debtors in preparation of the Schedules and Statements:

                      a.     Fair Market Value; Book Value. Unless otherwise noted therein,
                             the Schedules and Statements reflect the carrying value of the
                             assets/liabilities as listed in the New Debtors’ books and records.
                             Except as set forth above with respect to membership interests
                             owned by the New Debtors, where the current market value of
                             assets is unknown, the New Debtors have based their valuation on
                             book values; however, the actual value may differ. Where known,
                             accumulated depreciation of assets has been noted.
                      b.     Inventories. Unless otherwise noted therein, inventories are valued
                             in the Schedules and Statements at the values indicated on the New
                             Debtors’ books and records, and at the current value of those
                             inventories, as noted in the Schedules and Statements.
                      c.     Leased Real and Personal Property. In the ordinary course of its
                             business, the New Debtors may lease real property and various
                             articles of personal property, including, without limitation,
                             furniture, fixtures and equipment, from certain third-party lessors.
                             The New Debtors have endeavored to include all such leases in the
                             Schedules and Statements. The property subject to leases is not
                             reflected in the Schedules and Statements as either owned property
                             or assets of the New Debtors or property or assets of third-parties
                             within the control of the New Debtors. Nothing in the Schedules
                             or Statements is or shall be construed as an admission or
                             determination as to legal status of any lease (including whether to
                             assume and assign or reject such lease or whether it is a true lease
                             or a financing arrangement) or the assets subject to such leases,
                             and the New Debtors reserve all of its rights with respect to all
                             such issues, including any challenges thereto.
                      d.     Disputed, Contingent and/or Unliquidated Claims. Schedules D,
                             E, and F permit the New Debtors to designate a claim as disputed,
                             contingent, and/or unliquidated. A failure to designate a claim on
                             any of these Schedules and Statements as disputed, contingent,
                             and/or unliquidated does not constitute an admission that such
                             claim is not subject to objection. The New Debtors reserve the
                             right to dispute, or assert offsets or defenses to, any claim reflected
                             on these Schedules and Statements as to amount, liability, or
                             status.
                      e.     Revenues. In reference to Section 1 of Part 1 in Form 207 of the
                             New Debtors’ Statements, the New Debtors’ disclosure of their


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                               gross revenue includes revenue through November 1, 2018. The
                               New Debtors’ books and records for fiscal year 2018 has not yet
                               been closed.
                       f.      Claims. Certain of the Schedules and Statements list creditors of
                               the New Debtors as of the Petition Date. As discussed below, the
                               Court has authorized (but not directed) the New Debtors to, among
                               other things, continue certain prepetition practices regarding some
                               of those claims. Under this authority, the New Debtors paid a
                               number of prepetition claims, including, without limitation, certain
                               prepetition wages and employee compensation/benefits.
                       g.      Employee Claims. The Bankruptcy Court entered an order on,
                               November 9, 2018 [Docket No. 38] authorizing the New Debtors
                               to pay prepetition and post-petition wages, salaries, benefits and
                               other obligations. Accordingly, only employee claims against the
                               New Debtors for prepetition amounts that have not been paid as of
                               the time that the Schedules and Statements were prepared, if any,
                               and employee claims for items not authorized to be paid by order
                               of the Bankruptcy Court, if any, have been included in the
                               Schedules and Statements.

                15.      First-Day Orders. Pursuant to various orders issued by the Court, the New
        Debtors were authorized to pay certain outstanding prepetition claims, including, without
        limitation, to the following claims relating to employee compensation, benefits, and reimbursable
        business expenses. To the extent claims have been paid, such claims have not been listed on the
        Schedules and Statements. To the extent such a claim is listed on the Schedules and Statements,
        inadvertently or otherwise, the New Debtors do not waive any right to amend the Schedules and
        Statements or subsequently object to such claims.

                16.     Ordinary Course of Business. In the ordinary course of its business, the New
        Debtors apply credits against amounts otherwise due to vendors. These credits arise because,
        among other matters, materials ordered and paid for may not be delivered, materials delivered
        are damaged or unusable, and vendors provide volume rebates and cash discounts. Certain of
        these credits are subject to change. Vendor claims are listed at the amounts entered on the New
        Debtors’ books and records as of the Petition Date, which may reflect credits or allowances due
        from such creditors to the Debtor. The actual amount owed or owing by such vendors is subject
        to change upon application of pending and/or future credits and debits. Accordingly, such
        vendor balances are subject to potential amendment in due course of treatment in this
        Bankruptcy Case. The Debtor reserves all of its rights respecting such credits and allowances.

                17.     Executory Contracts and Unexpired Leases. For purposes of the Schedules and
        Statements, the New Debtors have only scheduled claims and executory contracts for which the
        New Debtors may be contractually and/or directly liable. While every reasonable effort has been
        made to ensure the accuracy of Schedule G regarding executory contracts and unexpired leases,
        inadvertent errors or omissions may have occurred. The New Debtors hereby reserve all of their
        rights to dispute the validity, status or enforceability of any contract, agreement, or lease set forth
        on Schedule G that may have expired or may have been modified, amended, and supplemented


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        from time to time by various amendments, restatements, waivers, estoppel certificates, letters and
        other documents, instruments, and agreements which may not be listed on Schedule G. Certain
        of the leases and contracts listed on Schedule G may contain certain renewal options, guarantees
        of payment, options to purchase, rights of first refusal, and other miscellaneous rights. Such
        rights, powers, duties and obligations are not set forth on Schedule G. Certain of the executory
        agreements may not have been memorialized in writing and could be subject to dispute. In
        addition, the New Debtors may have entered into various other types of agreements in the
        ordinary course of its business, such as easements, right of way, subordination, non-disturbance
        and attornment agreements, supplemental agreements, amendments/letter agreements, title
        agreements and confidentiality agreements. Such documents may not be set forth on Schedule
        G. The New Debtors reserve all of their rights to dispute or to challenge the characterization of
        the structure of any transaction, or any document or instrument related to a creditor’s claim. In
        the ordinary course of business, each Debtor may have entered into agreements, written or oral,
        for the provision of certain services on a month-to-month or at-will basis. Such contracts may
        not be included on Schedule G. The New Debtors reserve the right to assert that such
        agreements constitute executory contracts. Listing a contract or agreement on Schedule G does
        not constitute an admission that such contract or agreement is an executory contract or unexpired
        lease. The New Debtors reserve all rights to challenge whether any of the listed contracts,
        leases, agreements or other documents constitute an executory contract or unexpired lease,
        including if any are unexpired non-residential real property leases. Any and all of the Debtor’s
        rights, claims, and causes of action regarding the contracts and agreements listed on Schedule G
        are hereby reserved and preserved.

                18.     Reservation of Rights. Reasonable efforts have been made to prepare and file
        complete and accurate Statements and Schedules; however, inadvertent errors or omissions may
        exist. The New Debtors reserve all rights to (i) amend or supplement the Statements and
        Schedules from time to time, in all respects, as may be necessary or appropriate, including,
        without limitation, the right to amend the Statements and Schedules with respect to claim
        (“Claim”) description or designation; (ii) dispute or otherwise assert offsets or defenses to any
        Claim reflected in the Statements and Schedules as to amount, liability, priority, status or
        classification; (iii) subsequently designate any Claim as “disputed,” “contingent,” or
        “unliquidated;” or object to the extent, validity, enforceability, priority, or avoidability of any
        Claim. Any failure to designate a Claim in the Statements and Schedules as “disputed,”
        “contingent,” or “unliquidated” does not constitute an admission by the New Debtors (or any
        individual debtor) that such Claim or amount is not “disputed,” “contingent,” or “unliquidated.”
        Listing a Claim does not constitute an admission of liability by the Debtor against which the
        Claim is listed. Furthermore, nothing contained in the Statements and Schedules shall constitute
        a waiver of rights with respect to each Debtor’s chapter 11 case, including, without limitation,
        issues involving Claims, substantive consolidation, defenses, equitable subordination, and/or
        causes of action arising under the provisions of chapter 5 of the Bankruptcy Code and any other
        relevant non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of
        rights contained elsewhere in the Global Notes does not limit in any respect the general
        reservation of rights contained in this paragraph. Notwithstanding the foregoing, the New
        Debtors shall not be required to update the Statements and Schedules except as may be required
        by applicable law.

                   19.   Liabilities. The New Debtors have sought to allocate liabilities between the


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        prepetition and post-petition periods and between Debtor and Non-Debtor entities based on the
        information and research conducted in connection with the preparation of the Statements and
        Schedules. As additional information becomes available and further research is conducted, the
        allocation of liabilities between the prepetition and post-petition periods may change.
        Accordingly, each Debtor reserves all of its rights to amend, supplement, or otherwise modify its
        Statements and Schedules as is necessary or appropriate.

                The liabilities listed on the Schedules do not reflect any analysis of Claims under
        section 503(b)(9) of the Bankruptcy Code. Accordingly, the New Debtors reserve all of their
        rights to dispute or challenge the validity of any asserted Claims under section 503(b)(9) of the
        Bankruptcy Code or the characterization of the structure of any such transaction or any
        document or instrument related to any creditor’s Claim.

                20.     Excluded Assets and Liabilities. The New Debtors have excluded certain
        categories of assets, and liabilities from the Statements and Schedules, including, without
        limitation, certain assets and liabilities that they believe are property or obligations of Non-
        Debtor affiliates. The New Debtors have also excluded rejection damage Claims of
        counterparties to executory contracts and unexpired leases that may or may not be rejected, to the
        extent such damage Claims exist. In addition, certain immaterial assets and liabilities may have
        been excluded.

                The Bankruptcy Court has authorized (but not directed) the New Debtors to pay, in
        their discretion, certain outstanding Claims on a post-petition basis. Prepetition liabilities that
        have been paid post-petition or those that each Debtor anticipates paying via this authorization
        have not been included in the Schedules. Please see the notes to Schedule E/F for additional
        information.

                21.     Intangibles and Intellectual Property. The Debtor may have disclosed on the
        Schedules and Statements various intangibles owned by the Debtor, including, without
        limitation, equity interests, intellectual property, trademarks, copyrights, domain names,
        websites, and the like. The value of such intangible property is listed in the aggregate, and is not
        assigned to any particular category of intellectual property or intangible. There can be no
        assurance that such values are complete or accurate. Exclusion of any intellectual property shall
        not be construed as an admission that such intellectual property rights have been abandoned,
        terminated, assigned, expired by their terms, or otherwise transferred pursuant to a sale,
        acquisition, or other transaction.

                22.     Challenge of Liens. The New Debtors reserve the right to dispute or to challenge
        the validity, perfection, or immunity from avoidance of any lien purported to be granted or
        perfected in any specific asset to a secured creditor listed on Schedule D. Moreover, although
        the New Debtors may have scheduled claims of various creditors as secured claims, the New
        Debtors reserve all of their rights to dispute or to challenge the secured nature of any such
        creditor’s claim or the characterization of the structure of any such transaction or any document
        or instrument related to such creditor’s claim. The descriptions provided on Schedule D are
        intended only to be a summary. Reference to the applicable loan agreements and related
        documents is necessary for a complete description of the collateral and the nature, extent and
        priority of any liens. Nothing in the Global Notes or the Schedules and Statements shall be


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        deemed a modification or interpretation of the terms of such agreements.

                23.     Classifications. Listing (a) a Claim on Schedule D as “secured,” (b) a Claim on
        Schedule E/F as “priority,” (c) a Claim on Schedule E/F as “unsecured,” or (d) a contract on
        Schedule G as “executory” or “unexpired,” does not constitute an admission by any Debtor of
        the legal rights of the claimant or a waiver of any Debtor’s rights to re-characterize or reclassify
        such Claims or contracts or to setoff of such Claims.

                   24.   Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

                25.    Intercompany Payables and Receivables. Intercompany receivables/payables are
        set forth on Schedules B and E/F, respectively. The listing by each Debtor of any account
        between a Debtor and another affiliate is a statement of what appears in the New Debtors’ books
        and records and does not reflect any admission or conclusion of any Debtor regarding the
        allowance, classification, characterization, validity, or priority of such account. The New Debtors
        periodically record intercompany amounts for combined entities, which could result in
        discrepancies for allocation between legal entities. The New Debtors take no position in these
        Statements and Schedules as to whether such accounts would be allowed as a Claim, an Interest,
        or not allowed at all. The New Debtors and all parties in interest reserve all rights with respect to
        such accounts.

               26.      Setoff or Recoupment Rights. The Debtor has not included on Schedule D parties
        that may believe their claims are secured through setoff rights, deposits posted by or on behalf of
        the Debtor, or inchoate statutory lien rights.

               27.     New Debtors’ Addresses. For the purposes of the Statements and Schedules, all
        addresses for all New Debtors have been reported as the New Debtors’ headquarters address in
        Lubbock, Texas.

        Neither the New Debtors, their agents, nor their attorneys guarantee or warrant the accuracy, the
        completeness, or correctness of the data that is provided herein or in the Schedules and
        Statements, and none are liable for any loss or injury arising out of or caused in whole or in part
        by the acts, errors or omissions, whether negligent or otherwise, in procuring, compiling,
        collecting, interpreting, reporting, communication or delivering the information herein. While
        every effort has been made to provide accurate and complete information herein, inadvertent
        errors or omissions may exist. The New Debtors and their agents, attorneys and advisors
        expressly do not undertake any obligation to update, modify, revise or re-categorize the
        information provided herein, or to notify any third party should the information be updated,
        modified, revised or re-categorized. In no event shall the New Debtors or their agents, attorneys
        and advisors be liable to any third party for any direct, indirect, incidental, consequential or
        special damages (including, but not limited to, damages arising from the disallowance of a
        potential claim against the New Debtors or damages to business reputation, lost business or lost
        profits), whether foreseeable or not and however caused, even if the New Debtors or their agents,
        attorneys and advisors are advised of the possibility of such damages.

                                          #END OF GLOBAL NOTES#




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 Fill in this information to identify the case:

 Debtor name: Reagor-Dykes Auto Mall I LLC

 United States Bankruptcy for the District of: Northern Texas
                                                                                                                                                       Check if this is an
 Case number: 18-50325
                                                                                                                                                       amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and
case number (if known).

   Part 1: Income
 1. Gross revenue from business

     None

  Identify the beginning and ending dates of the debtor’s fiscal year, which             Sources of revenue                                        Gross revenue
  may be a calendar year                                                                 Check all that apply                                      (before deductions and
                                                                                                                                                   exclusions)



 2. Non-business revenue
 Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List
 each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     None

                                                                                         Description of sources of revenue                         Gross revenue from
                                                                                                                                                   each source
                                                                                                                                                   (before deductions and
                                                                                                                                                   exclusions)



   Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3. Certain payments or transfers to creditors within 90 days before filing this case
 List payments or transfers - including expense reimbursements - to any creditor, other than regular employee compensation, within 90 days before filing this case unless
 the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to
 cases filed on or after the date of adjustment.)

     None

  Creditor’s name and address                                             Dates          Total amount or value        Reasons for payment or transfer
                                                                                                                      Check all that apply



 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
 List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or cosigned by an
 insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount may be adjusted on 4/01/19 and every 3
 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and
 anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such
 affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

     None

  Insider’s name and address                                              Dates          Total amount or value        Reasons for payment or transfer
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5. Repossessions, foreclosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale,
transferred by a deed in lieu of foreclosure, or returned to the seller.
Do not include property listed in line 6.

      None

 Creditor’s name and address                                                Description of the property                                 Date           Value of property



6. Setoffs
List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor
without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.

      None

 Creditor’s name and address                                                Description of the action creditor took                     Date           Amount
                                                                                                                                        action
                                                                                                                                        was
                                                                                                                                        taken



  Part 3: Legal Actions or Assignments
7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity—
within 1 year before filing this case.

      None

 Case title                                   Nature of case                               Court or agency’s name and address                          Status of case

7.1     Name                                                                              Name
                                                                                                                                                           Pending
        FORD MOTOR CO VS.                                                                 NORTHERN DISTRICT OF TEXAS
        REAGOR-DYKES AMARILLO                                                                                                                              On appeal
                                                                                          Street
        LP
                                                                                          1205 TEXAS AVE.                                                  Concluded
        Case number
                                                                                          City                               State     Zip
        18-EV-00186
                                                                                          LUBBOCK                             TX        79401-409


7.2     Name                                                                              Name
                                                                                                                                                           Pending
        ZIEGLER MOTORS INC. VS.                                                           DALLAS COUNTY COURT
        REAGOR AUTO MALL LTD                                                                                                                               On appeal
                                                                                          Street
        Case number                                                                       600 COMMERCE ST, SUITE 100                                       Concluded
        DC 18-12949
                                                                                          City                               State     Zip
                                                                                          DALLAS                              TX        75202




8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian,
or other court-appointed officer within 1 year before filing this case.

      None

 Custodian’s name and address                                Description of the property                                 Value



  Part 4: Certain Gifts and Charitable Contributions
9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to that
recipient is less than $1,000

      None

 Recipient’s name and address                                Description of the gifts or contributions                   Dates given                   Value



  Part 5: Losses
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10. All losses from fire, theft, or other casualty within 1 year before filing this case

    None

 Description of the property lost and how the                Amount of payments received for the loss                    Date of loss                 Value of property lost
 loss occurred                                               If you have received payments to cover the loss, for
                                                             example, from insurance, government
                                                             compensation, or tort liability, list the total received.
                                                             List unpaid claims on Official Form 106A/B
                                                             (Schedule A/B: Assets – Real and Personal
                                                             Property).



  Part 6: Certain Payments or Transfers
11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to
another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

    None

 Who was paid or who received the transfer?                  If not money, describe any property transferred             Dates                        Total amount or value



12. Self-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust
or similar device.
Do not include transfers already listed on this statement.

    None

 Name of trust or device                                     Describe any property transferred                           Dates transfers were         Total amount or value
                                                                                                                         made



13. Transfers not already listed on this statement
List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2 years before
the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers
made as security. Do not include gifts or transfers previously listed on this statement.

    None

 Who received transfer?                                      Description of property transferred or payments             Date transfer was            Total amount or value
                                                             received or debts paid in exchange                          made



  Part 7: Previous Locations
14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

    Does not apply

 Address                                                                                                    Dates of occupancy



  Part 8: Health Care Bankruptcies
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15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:

    diagnosing or treating injury, deformity, or disease, or

    providing any surgical, psychiatric, drug treatment, or obstetric care?

    No. Go to part 9.

    Yes. Fill in the information below.

 Facility name and address                                                 Nature of the business operation, including type of services         If debtor provides
                                                                           the debtor provides                                                  meals and housing,
                                                                                                                                                number of patients in
                                                                                                                                                debtor's care



  Part 9: Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

    No.

    Yes. State the nature of the information collected and retained.
            Does the debtor have a privacy policy about that information?

                No

                Yes



17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or profit-sharing
plan made available by the debtor as an employee benefit?

    No. Go to Part 10.

    Yes. Does the debtor serve as plan administrator?

                No. Go to Part 10.

                Yes. Fill in below:
            Name of plan                                                                    Employer identification number of the plan



            Has the plan been terminated?

                No

                Yes



  Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved, or
transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
associations, and other financial institutions.

    None

 Financial institution name and address                                    Last 4       Type of account            Date account was             Last balance before
                                                                           digits of                               closed, sold, moved,         closing or transfer
                                                                           account                                 or transferred
                                                                           number
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19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

    None

 Depository institution name and address                           Names of anyone with access to it                Description of the contents                       Does debtor still have
                                                                                                                                                                      it?



20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does
business.

    None

 Facility name and address                                         Names of anyone with access to it                Description of the contents                       Does debtor still have
                                                                                                                                                                      it?



  Part 11: Property the Debtor Holds or Controls that the Debtor Does Not Own
21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or
rented property

    None

 Owner’s name and address                                          Location of the property                         Description of the property                       Value



  Part 12: Details About Environmental Information
For the purpose of Part 12, the following definitions apply:
          Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium affected (air, land,
          water, or any other medium).


          Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated, or utilized.


          Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful substance.


Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders

    No.

    Yes. Provide details below.

 Case title                                       Court or agency name and address                                  Nature of the case                                Status of case



23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an environmental law?


    No

    Yes. Provide details below.

 Site name and address                            Governmental unit name and address                                Environmental law, if known                       Date of notice



24. Has the debtor notified any governmental unit of any release of hazardous material?

    No

    Yes. Provide details below.

 Site name and address                            Governmental unit name and address                                Environmental law, if known                       Date of notice



  Part 13: Details About the Debtor's Business or Connections to Any Business
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25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this information
even if already listed in the Schedules.

       None

 Business name and address                                   Describe the nature of the business                       Employer Identification number
                                                                                                                       Do not include Social Security number or ITIN.



26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

       None

 Name and address                                                                                                      Dates of service

26a.1       Name and Address                                                                                          From                          to
            SHANE SMITH, 3804 106TH ST., LUBBOCK, TX 79423                                                            UNKNOWN                       8//2018



26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement within 2 years before
filing this case.

       None

 Name and address                                                                                                      Dates of service



26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

       None

 Name and address                                                                                                      If any books of account and records are
                                                                                                                       unavailable, explain why

26c.1       Name and Address
            SHANE SMITH, 3804 106TH ST., LUBBOCK, TX 79423




26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement within 2 years
before filing this case.

       None

 Name and address



27. Inventories
Have any inventories of the debtor’s property been taken within 2 years before filing this case?

       No

       Yes. Give the details about the two most recent inventories.

 Name of the person who supervised the taking of the inventory                            Date of inventory            The dollar amount and basis (cost, market, or
                                                                                                                       other basis) of each inventory



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the
debtor at the time of the filing of this case.
 Name and Address                                                                         Position and nature of any interest         % of interest, if any

28.1        BART REAGOR, 1215 AVE. J, LUBBOCK, TX 79401                                 OWNER                                        50%


28.2        RICK DYKES, 1215 AVE. J, LUBBOCK, TX 79401                                  OWNER                                        50%
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29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the
debtor, or shareholders in control of the debtor who no longer hold these positions?

    No

    Yes. Identify below.

 Name and Address                                                                       Position and nature of any interest         Period during which position or
                                                                                                                                    interest was held



30. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on
loans, stock redemptions, and options exercised?

    No

    Yes. Identify below.

 Name and address of recipient                                            Amount of money or description              Dates                        Reason for providing
                                                                          and value of property                                                    the value



31.Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

    No

    Yes. Identify below.

 Name of the parent corporation                                                                                       Employer Identification number of the parent
                                                                                                                      corporation



32.Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

    No

    Yes. Identify below.

 Name of the pension fund                                                                                             Employer Identification number of the pension
                                                                                                                      fund
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Fill in this information to identify the case:

Debtor name: Reagor-Dykes Auto Mall I LLC

United States Bankruptcy for the District of: Northern Texas
                                                                                                                                                                Check if this is an
Case number: 18-50325
                                                                                                                                                                amended filing


  Part 14: Signature and Declaration
WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result
in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.
I declare under penalty of perjury that the foregoing is true and correct.

Executed on              12/17/2018


/s/ Robert Schleizer                                                                           Robert Schleizer
Signature of individual signing on behalf of debtor                                           Printed name

Chief Restructuring Officer
Position or relationship to debtor


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

    No

    Yes
